Case: 3:20-cv-00044-GFVT-EBA Doc #: 133 Filed: 12/06/22 Page: 1 of 4 - Page ID#:
                                    4392



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION


 LUCY ALEXANDER, MARY BAUGHMAN,
 ROBERT MOODY, DANNY METTS, and
 RANDALL ROACH

 On behalf of themselves and all those similarly
 situated,                                                         No. 3:20-cv-00044-GFVT-EBA
                                                Plaintiffs,

                             v.

 THOMAS B. MILLER, in his official capacity as
 Commissioner of the Kentucky Department of
 Revenue, et al.,

                                              Defendants.



                      RENEWED MOTION FOR SUMMARY JUDGMENT OF
                 PLAINTIFFS AND THE CLASS AGAINST DEFENDANT CAPILOUTO

         Pursuant to Rule 56(a) of the Federal Rule of Civil Procedure, Plaintiffs and the Class

hereby move for summary judgment in their favor against Defendant Capilouto, in his official

capacity as President of the University of Kentucky (“UK Healthcare,” or “UKH”). Plaintiffs and

the Class are entitled to summary judgment because, as set forth in detail in the accompanying

Memorandum of Law,

     •       there is no genuine issue of fact concerning the procedures surrounding Defend-
             ants’ forced collection of medical debt alleged to be due to UK Healthcare and
             the ongoing, residual effects of those procedures,
     •       those indisputable facts establish that Defendants’ procedures have violated the
             Due Process Clause of the Fourteenth Amendment to the Constitution of the
             United States, and that the effects of those violations are still being felt, so that
     •       Plaintiffs and the Class are entitled to judgment as a matter of law.
Case: 3:20-cv-00044-GFVT-EBA Doc #: 133 Filed: 12/06/22 Page: 2 of 4 - Page ID#:
                                    4393



As set forth in the accompanying Proposed Order, the relief sought on this motion is (a) a decla-

ration pursuant to 28 U.S.C. § 2201 concerning the rights of the parties going forward, and (b) an

injunction ancillary to and implementing that declaratory relief.

          The motion is supported by the following papers:

      •       the affidavits and supplemental affidavits of the Named Plaintiffs (other than
              Plaintiff Metts) previously filed in this action (ECF ## 32-4, -5, -6, -8, -12, -14);
      •       the Complaint, to the extent verified by the foregoing affidavits;
      •       the accompanying Memorandum of Law (by separate motion, leave is being
              sought to file excess pages);
      •       the Evidentiary Submission (ECF##95-98) previously submitted in connection
              with the original motion for summary judgment of Plaintiffs and the Class (ECF
              #92), consisting of documents, interrogatory answers, and responses to requests
              for admission numbered as Exhibits 1-129; part of the Evidentiary Submission (at
              ECF#95) is a Statement of Material Facts as to Which There Is No Genuine Dis-
              pute, which Statement cites to and organizes the record;
      •       a volume of redacted deposition excerpts (ECF#99) previously submitted in sup-
              port of ECF#92 (the redactions were pursuant to the HIPAA protective order
              herein (ECF #43));
      •       a full set of the unredacted deposition excerpts (ECF#101), which has been filed
              under seal;
      •       the evidentiary submission accompanying Plaintiffs’ Combined Opposition to
              Defendants’ Motions for Summary Judgment (ECF#108), consisting of Exhib-
              its 130-152 (ECF##108-2 to 108-24)
      •       Exhibits 153-159 annexed to the accompanying Memorandum of Law.

Dated: December 6, 2022

                                          [Signatures follow]




                                                   -2-
Case: 3:20-cv-00044-GFVT-EBA Doc #: 133 Filed: 12/06/22 Page: 3 of 4 - Page ID#:
                                    4394




 s/      Ben Carter                               s/      Edward P. Krugman
 KENTUCKY EQUAL JUSTICE CENTER                    s/      Claudia Wilner
 222 South First St., Suite 305                   s/      Karina Tefft
 Louisville, KY 40202                             Claudia Wilner (pro hac vice)
 (502) 303-4026                                   Edward P. Krugman (pro hac vice)
 ben@kyequaljustice.org                           Karina Tefft (pro hac vice)
 s/      David Hymer                              NATIONAL CENTER FOR LAW
                                                     AND ECONOMIC JUSTICE
 s/      Rachel LaBruyere                         50  Broadway, Suite 1500
 David Hymer (pro hac vice)                       New   York, NY 10004
 Judea S. Davis (pro hac vice)                    (212) 633-6967
 Rachel LaBruyere (pro hac vice)                  wilner@nclej.org
 BRADLEY ARANT BOULT                              krugman@nclej.org
 CUMMINGS LLP                                     tefft@nclej.org
 One Federal Place
 1819 Fifth Avenue North
 Birmingham, AL 35203
 (205) 521-8000
 dhymer@bradley.com
 rlabruyere@bradley.com
                               Counsel for Plaintiffs and the Class




                                             -3-
Case: 3:20-cv-00044-GFVT-EBA Doc #: 133 Filed: 12/06/22 Page: 4 of 4 - Page ID#:
                                    4395



                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of December, 2022, the foregoing was served by filing

in the Court’s ECF system, which will deliver true and accurate copies to:

William E. Thro
General Counsel
Shannan Stamper
Deputy General Counsel
University of Kentucky
Office of Legal Counsel
301 Main Building
Lexington, KY 40506
William.thro@uky.edu
Shannan.stamper@uky.edu

R. Campbell Connell
Frank L. Dempsey
Division of Collections; Legal Branch
Department of Revenue
Finance and Administration Cabinet
P. O. Box 5222
Frankfort, KY 40602
rcconnell@ky.gov
frank.dempsey@ky.gov

Kevin G. Henry
Bryan H. Beauman
Donald C. Morgan
Sturgill, Turner, Barker & Moloney
333 W. Vine Street, Suite 1500
Lexington, KY 40507
bbeauman@sturgillturner.com
dmorgan@sturgillturner.com


                                                /s/ Edward P. Krugman
                                                Edward P. Krugman




                                               -4-
